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                     6

                     7

                     8                                  UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                     Debtors and Debtors in
                    15               Possession.
                          SCOOBEEZ, INC.,                                             Adv. No. 2:19-ap-01456-WB
                    16
                                           Plaintiff                                  AMAZON LOGISTICS, INC.’S
                    17                                                                SUPPLEMENTAL OPPOSITION TO
                                   v.                                                 MOTION FOR PRELIMINARY
                    18                                                                INJUNCTION; AND DECLARATION OF
                          AMAZON LOGISTICS, INC.,                                     JAMES WILSON IN SUPPORT
                    19                                                                THEREOF
                                           Defendant.
                    20                                                                  Date:        November 18, 2019
                                                                                        Time:        10:00 a.m.
                    21                                                                  Place.:      United States Bankruptcy Court
                                                                                                     Edward Roybal Federal Building
                    22                                                                               255 E Temple St., Ctrm 1375
                                                                                                     Los Angeles CA 90012
                    23

                    24
                                   Defendant Amazon Logistics, Inc. (“Amazon Logistics”), respectfully submits the
                    25
                          following supplemental opposition to the Debtor’s motion for preliminary injunction:
                    26
                          1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                    27    Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                          Boulevard, in Glendale, California 91214.
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                     1              1.       Relief Sought: The Debtor’s motion for a temporary restraining order and

                     2    preliminary injunction sees three forms of relief:

                     3                       (a)     “prohibiting Amazon from unilaterally terminating any of its existing

                     4    contracts with the Debtors …;”

                     5                       (b)     “restoring and maintaining the Debtors with the number of routes assigned

                     6    to the Debtors prior to Amazon’s notification of its intent to terminate the Amazon contracts that

                     7    is consistent with historical business practices between Amazon and the Debtors;” and

                     8                       (c)     “prohibiting Amazon from contacting employees of the Debtors, whether

                     9    directly or indirectly, other than as necessary for and historically done in the ordinary course of
                    10    the conduct of the Amazon Contracts.”

                    11              2.       Terminating the Amazon Contracts: The Amazon Contract provides Amazon

                    12    (and Scoobeez) with the right to terminate the contract on 30 days’ notice, with or without cause.2

                    13    There is no dispute that Amazon may not exercise that right absent relief from the automatic stay.

                    14    Computer Communications, Inc. v. Codex Corporation (In re Computer Communications, Inc.),

                    15    824 F.2d 725 (9th Cir. 1987). There is no evidence that Amazon has attempted to exercise its

                    16    termination right, or that it will do so while the automatic stay is in effect.3 Indeed, Amazon has

                    17    sought relief from the automatic stay in order to exercise its termination right.4 Because the

                    18    automatic stay applies to restrain Amazon from exercising its termination right, and because there

                    19    is no evidence that Amazon intends to violate the automatic stay by exercising its termination
                    20    right prior to obtaining relief from the automatic stay, there is no cause to issue an injunction

                    21    2
                            A copy of the Amazon Contract is attached to Amazon Logistics, Inc.’s Opposition to Application for Temporary
                          Restraining Order and Declarations of James Wilson and Richard W. Esterkin in Support Thereof (Docket No. 10) at
                    22    pages 20-175). The provision in the Amazon Contract providing for the right to terminate the contract is at page 36
                          (“Either party may terminate these Terms at any time, with or without cause, by providing the other party with 30
                    23    days’ prior written notice.”).
                          3
                    24      The October 16, 2019 e-mail upon which the Debtor’s motion relies (Docket No. 2 at pages 46-47) states that “If
                          the sale does in fact close without a separation agreement, then upon closing, Amazon will immediately exercise its
                    25    right to terminate the Amazon/Scoobeez contract.” Once the Debtor has assumed and assigned the Amazon Contract
                          (the relief sought in the sale motion), the Amazon Contract would no longer be property of the Debtor’s bankruptcy
                    26    estate. As a result, the automatic stay would no longer apply. 11 U.S.C. § 362(c)(1) (“the stay of an act against
                          property of the estate under subsection (a) of this section continues until such property is no longer property of the
                    27    estate;”).
                          4
                              See, bankruptcy case Docket No. 393.
                    28
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                     1    precluding Amazon from exercising its termination right. See, Pester Refining Co.. v. Ins. Co. of

                     2    North America, 58 B.R. 189, 192 (Bankr. S.D.N.Y. 1985) (refusing to issue injunction prohibiting

                     3    insurance company from cancelling insurance policy because such cancellation would violate the

                     4    automatic stay and, as a result, be void).

                     5              3.       “Restoring” Routes: The Court should decline to enter an injunction regarding

                     6    the number of routes to be assigned to the Debtor for the following reasons:

                     7                       (a)      The Amazon Contract is clear that the Debtor is not entitled to any

                     8    particular amount of business, or any business at all. “You acknowledge and agree that Amazon

                     9    makes no promises or representations whatsoever as to the amount of business that you can
                    10    expect at any time under these Terms, whether before or after any Work Order becomes binding

                    11    upon you.”5 Thus, any injunction mandating that Amazon provide the Debtor with any number of

                    12    routes is contrary to the express terms of the Amazon Contract.

                    13                       (b)      The automatic stay exists to preserve the status quo, and does not confer

                    14    any additional rights upon debtors. In re Tudor Lodge Associates, LTD Partnership, 102 B.R.

                    15    936, 954 (Bankr. N.J. 1989). Here, the Debtor is attempting to use the automatic stay as a sword

                    16    to obtain rights that it does not have, not as a shield to prevent Amazon from violating the

                    17    Debtor’s rights. The Debtor has not cited any authority that would permit the Court to enter an

                    18    injunction expanding the Debtor’s contractual rights.

                    19                       (c)      The Debtor’s contention that Amazon is de facto terminating the Amazon
                    20    Contract by reducing the number of routes awarded to the Debtor is demonstrably false.

                    21    Notwithstanding Amazon’s desire to sever its relationship with the Debtor, Amazon has

                    22    continued to provide the Debtor with a substantial number of routes. Indeed based upon the

                    23    number of routes assigned to it, the Debtor is within the top 5% of all delivery service providers

                    24    utilized by Amazon.6

                    25

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                          5
                    27        Docket No. 10 at page 31, ¶ 1(c).
                          6
                              Declaration of James Wilson (the “Wilson Decl.”). at ¶ 3.
                    28
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                     1                        (d)      The Debtor’s contention that Amazon is reducing the Debtor’s routes based

                     2    upon the Debtor’s bankruptcy filing is also demonstrably false. The average number of routes

                     3    awarded to Scoobeez in the weeks following its bankruptcy filing exceeds the average number of

                     4    routes awarded to Scoobeez during 2019 in the weeks prior to its bankruptcy filing.7

                     5                        (e)      The Debtor’s contention that Amazon precipitously decided to terminate its

                     6    relationship with the Debtor at the time that it filed its objection to the assumption and assignment

                     7    of the Amazon contract with Hillair is also demonstrably false. In fact, in September 2019,

                     8    Amazon posted on its Route Commitment tool the number of routes, by delivery station, that it

                     9    anticipated awarding to the Debtor for the remainder of 2019.8 That model has been updated
                    10    from time to time since September 2019 and the Debtor has accepted the number of forecasted

                    11    routes in each iteration, with the most recent iteration being accepted by the Debtor on October

                    12    28, 2019.9 The Debtor has actually serviced routes in excess of the number of routes listed on the

                    13    Route Commitment tool, as updated, throughout October 2019.10

                    14                        (f)      The Debtor’s contention that the recent decline in the number of routes

                    15    awarded to it presages an attempt by Amazon to engage in a de facto termination of the Amazon

                    16    contract is incorrect. As noted in Amazon’s initial objection, the recent decline in the number of

                    17    routes per week matches a similar decline during the same period of the year in 2017 and 2018.11

                    18                        (g)      Finally, the Debtor’s touting its performance as exemplary is simply

                    19    untrue. Amazon tracks the performance metrics of each of the DSPs operating out of each of its
                    20    delivery stations.12 The Debtor’s performance metrics from 2019 week 27 through the present as

                    21    compared to the other DSPs operating out of the stations from which the Debtor operates were as

                    22    follows:

                    23
                          7
                    24         Id.
                          8
                               Wilson Decl. at ¶5.
                    25    9
                               Id.
                    26    10
                               Wilson Decl. at ¶ 6..
                          11
                    27         Docket No. 2 at page 30.
                          12
                               Wilson Decl., ¶ 7.
                    28
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                     1
                                      Station             Number of DSPs               Debtor Performance Percentile
                     2
                                      DAU1                        14                                63%
                     3
                                      DCH1                        17                                47%
                     4
                                      DCH2                        6                                 47%
                     5
                                      DCH3                        7                                 56%
                     6
                                      DDA1                        11                                50%
                     7
                                      DDA2                        18                                41%
                     8
                                      DDA3                        18                                70%
                     9
                                      DLA3                        6                                 32%
                    10
                                      DLA8                        17                                48%
                    11
                                      DLA9                        17                                50%
                    12
                                      DPS1                        18                                52%
                    13
                                      DSX1                        14                                39%
                    14
                                     Average                                                       49.58%
                    15

                    16    The performance reports submitted by the Debtor in support of its motion for a preliminary
                    17    injunction cover only five of the twelve stations from which the Debtor operates and only one
                    18    week (week 42) at those stations. Thus, those reports present a misleading “snapshot” of the
                    19    Debtor’s performance metrics.
                    20                     (h)   For the foregoing reasons, there is no basis upon which this Court could
                    21    issue a mandatory injunction directing Amazon to provide the Debtor with any number of routes.
                    22    Such an injunction would also be improper for the following reasons:
                    23                           (i)    There is no rational basis for directing Amazon to provide the
                    24    Debtor with any particular number of routes over any particular time period.
                    25                           (ii)   The Debtor has not demonstrated that it will suffer any irreparable
                    26    injury. If Amazon were to breach any contractual obligation to the Debtor, and there is no
                    27    evidence that Amazon intends to do so, such a breach would be compensable in damages.
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                     1             4.      Communications with Debtor Employees:

                     2                     (a)    The October 16, 2019 e-mail upon which the Debtor’s motion is based is

                     3    clear that the communications to the Debtor’s employees was to be: (i) pursuant to an agreement

                     4    between Amazon and the Debtor, an agreement that was not concluded and would have to be

                     5    approved by this Court, and (ii) a joint communication by each of the Debtor and Amazon. There

                     6    is nothing in the e-mail that even suggests that Amazon intended to contact the Debtor’s drivers

                     7    other than in the ordinary course or in conjunction with the Debtor.

                     8                     (b)    There is no admissible evidence that any Amazon employee has attempted

                     9    to communicate with the Debtor’s employees, other than in the ordinary course. Had such
                    10    communications taken place, the Debtor should have been able to provide declarations from its

                    11    drivers establishing that fact, rather than submitted hearsay declarations from its officers.

                    12                     (c)    There is no evidence, admissible or otherwise, that any of the Debtor’s

                    13    drivers have left their employment with the Debtor as a result of any communication that they

                    14    may have had with Amazon employees.

                    15                     (d)    If the Debtor was truly concerned about communicating to its drivers that

                    16    Amazon intended to terminate the Amazon Contract, it would not have filed the present

                    17    proceeding, which provided notice to the world of that fact. Assuming, for purposes of argument,

                    18    that one or more of the Debtor’s 1000 drivers left the Debtor’s employ due to concerns about his

                    19    or her job stability, how is this Court going to determine if that driver obtained knowledge of
                    20    Amazon’s position from some purportedly illicit communication with an Amazon employee or by

                    21    simply reading the Debtor’s own pleadings?

                    22             5.      Conclusion: There is no basis upon which this Court could issue a preliminary

                    23    injunction.

                    24                     (a)    The automatic stay prohibits Amazon from exercising its right to terminate

                    25    the Amazon contract on 30 days’ notice, Amazon has not threatened to exercise that right in the

                    26    absence of an order modifying the stay, even if Amazon were to attempt to exercise that right in

                    27    violation of the stay, the termination would be void, and, if the Debtor thought that it needed any

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                     1    further relief, the Debtor would have at least 30 days within which to petition this Court for that

                     2    relief given the requirement to provide at least 30 days’ notice of any termination.

                     3                     (b)   The parties’ contract does not grant the Debtor a right to any particular

                     4    number of routes, or to any routes at all, and the automatic stay does not enlarge the Debtor’s

                     5    rights. The Debtor is currently being awarded routes that, based upon the number of routes,

                     6    places the Debtor in the top 5% of all Amazon DSPs. That is hardly a de facto termination of the

                     7    contract. Even if this Court were to conclude somehow that the Debtor had an entitlement to

                     8    some number of routes in excess of the number of routes provided to it, the Debtor has an

                     9    adequate remedy at law – damages. Finally, the Debtor has not offered a scintilla of evidence that
                    10    would enable this Court to dictate the number of routes to which the Debtor is theoretically

                    11    entitled.

                    12                     (c)   The only evidence that Amazon intended to communicate with the

                    13    Debtor’s employees reflects that such communications were to be made with the Debtor’s consent

                    14    and participation. There is no admissible evidence of any “impermissible” communications

                    15    between Amazon employees and the Debtor’s drivers, and no evidence whatsoever that any of the

                    16    Debtor’s drivers have resigned their employment to accept employment with Amazon or a rival

                    17    DSP.

                    18    The Debtor’s request for a preliminary injunction should be denied.

                    19    Dated: November 11, 2019                           MORGAN, LEWIS & BOCKIUS LLP
                    20

                    21                                                       By:    /s/ Richard W. Esterkin
                                                                                        Richard W. Esterkin
                    22
                                                                                       Attorneys for Amazon Logistics, Inc.
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                     1                                  DECLARATION OF JAMES WILSON
                     2             I, James Wilson, declare:

                     3             1.      My job title is Senior Manager, Amazon Logistics. In that capacity, I am familiar

                     4    with the engagement of delivery service providers (“DSPs”), such as Scoobeez, Inc.

                     5    (“Scoobeez”), by Amazon Logistics, Inc. (“Amazon Logistics”) to deliver packages ordered from

                     6    Amazon.com and related online sites.

                     7             2.      In the ordinary course of its business, Amazon Logistics maintains records

                     8    regarding the number of routes run by the various DSPs with whom Amazon Logistics contracts.

                     9    Those records are created and updated at or near the time that the routes are run by the DSP and

                    10    are relied upon by Amazon Logistics for, among other things, calculating payments due to DSPs.

                    11    Those records are maintained on a week by week basis, with a week commencing on Sunday and

                    12    concluding on Saturday. Thus, week 1 during 2019 concluded on January 5, 2019, week 2

                    13    concluded on January 12, 2019, etc.

                    14             3.      Based upon the number of routes run, during weeks 43 and 44, Scoobeez is in the

                    15    top 5% of all DSPs utilized by Amazon Logistics. Indeed, Amazon has increased the average

                    16    number of routes awarded to Scoobeez following the filing of its bankruptcy petition above the

                    17    average number of routes awarded to Scoobeez during 2019 in the months before Scoobeez filed

                    18    its bankruptcy petition.

                    19             4.      Amazon estimates the number of packages that will need to be delivered, the

                    20    number of packages that can fit on a delivery vehicle of varying sizes (i.e. small van, extended

                    21    van, box truck, etc.), and the type of delivery service required (i.e. standard parcel, secure parcel,

                    22    pick up, etc.) in order to determine the estimated number of routes by type required from each of

                    23    its delivery stations. Amazon then communicates the number of routes by type awarded to each

                    24    of the DSPs over time at each of the delivery stations. Amazon’s estimate as to the number of

                    25    packages that require delivery, the number of packages that fit on a delivery vehicles and the

                    26    number of routes awarded to each DSP are updated periodically. On September 13, 2019,

                    27    Amazon launched a web-based Route Commitment tool to communicate the number of routes

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                     1    awarded to DSPs. DSPs log into the Route Commitment tool so that, if they elect to do so, they

                     2    can accept the routes awarded to them or raise questions regarding those route assignments.

                     3             5.       The September 13, 2019 version of the Route Commitment tool included the

                     4    number of routes that that Amazon anticipated awarding to Scoobeez through the remainder of

                     5    calendar year 2019. That model has been updated from time to time since September 2019.

                     6    Scoobeez has accepted the forecasted number of routes to be awarded to it in each iteration,

                     7    including the most recent iteration of the assigned routes on October 28, 2019.

                     8             6.       Although Amazon attempts to accurately predict the number of packages that will

                     9    need to be delivered from each of its delivery stations, those estimates are not 100% accurate.
                    10    Thus, on occasion, there are excess packages that require delivery and, on occasion, there are

                    11    fewer packages that require delivery. In Scoobeez’s case, Scoobeez has actually run a substantial

                    12    number of routes in excess of the Amazon’s forecasted allocation in the Route Commitment tool.

                    13             7.       In the ordinary course of its business, Amazon Logistics tracks and records the

                    14    performance metrics of the DSPs with whom Amazon Logistics contracts. Those records are

                    15    created and updated at or near the time that the performance metrics are measured and are relied

                    16    upon by Amazon Logistics for, among other things, determining the identity of the DSPs with

                    17    whom Amazon Logistics determines to do business. Scoobeez’s performance metrics as

                    18    compared to the performance metrics of the other DSPs at the delivery stations from which

                    19    Scoobeez operates, for the period from week 27 of 2019 through the present are as follows:
                    20                  Station              Number of DSPs               Debtor Performance Percentile
                    21                  DAU1                        14                                 63%
                    22                  DCH1                        17                                 47%
                    23                  DCH2                         6                                 47%
                    24                  DCH3                         7                                 56%
                    25                  DDA1                        11                                 50%
                    26                  DDA2                        18                                 41%
                    27                  DDA3                        18                                 70%
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                      1
                                         DLA3                          6                                   32%
                      2
                                         DLA8                         17                                   48%
                      3
                                         DLA9                         17                                   50%
                      4
                                          DPSI                        18                                   52%
                      5
                                         DSXl                         14                                   39%
                      6
                                         Average                                                          49.58%
                      7

                      8             I declare under penalty of perjury that the foregoing is true and correct and that this

                      9    declaration      was executed at Cary, North Carolina on November   11, 2019

                  10

                  11                                                        James Wilson
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                        1                                 CERTIFICATE           OF SERVICE FORM

                        2                                     FOR ELECTRONIC            FILINGS

                        3             I hereby certify that on November 11,2019, I electronically filed the foregoing document,

                        4    Amazon Logistics, Inc.'s Supplemental Opposition to Motion For Preliminary Injunction;

                        5    and Declaration of James Wilson in Support Thereof with the Clerk of the United States

                        6    Bankruptcy Court, Central District of California, Los Angeles Division, using the CM/ECF

                        7    system, which will send notification of such filing to those parties registered to receive notice on

                        8    this matter.

                        9

                       10
                                                                               Renee Robles
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